ORJ          Case 1:17-cv-04327-LLS-RWL       Document 44 Filed 07/05/17 Page 1 of 1
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                                                              June 28,2017
      Via E~File              _.. /                                                      DOCl'\1ENT
      The Honorable Louis L. ~'f"ton                                                     ELECTRO:\ICALLY FILED .
      Daniel Patrick Moynihan
      United States Courthouse                                                           DOC #=---~-r-..,...---
      Southern District of New York                                                  1 0 ATF  F1L f D: _Q'-1-!/f::;._...:._/1_._1_
      500 Pearl Street
      New York, NY 10007-1312

              Re Dardashtlan et at. v. Gitman, et at.. 17-CV-4327 (LLSHJCF)

      Dear Judge Stanton,

               We represent defendants David Gitman, Accel Commerce, LLC, Dalva Ventures, LLC, and
      Channel Reply, Inc. (the "Defendants") in the above~referenced action. As Your Honor is aware, the
      parties have submitted voluminous submissions in this matter since the filing of plaintiffs' Order to Show
      Cause on June 8, 2017, and have been further ordered to work together in good faith to resolve all
      outstanding compliance issues pursuant to this Court's Order, dated June 21, 2017. The parties are
      scheduled to appear before Magistrate Judge James C. Francis on July 5, 2017, to resolve any remaining
      compliance issues.

               Defendants have been working in good faith with counsel and opposing counsel to resolve any
      and all compliance issues, and continue to do so with each new request or compliance issue that plaintiffs
      bring to the attention of counsel.

              In light of this effort, Defendants respectfully request an extension of time of thirty days to answer
      or otherwise respond to the underlying complaint. Plaintiffs will suffer no prejudice in granting such an
      extension. However, plaintiffs have denied our requests for their consent to the requested extension of
      time. Defendants' responsive pleading would oth$rwlse be due June 29, 2017.

             Accordingly, we respectfully request an extension of time to answer or otherwise respond to the
      complaint up to and including July 29, 2017.                                                                                     •   t:.J
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